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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                        :
                                                :
       v.                                       :
                                                :       Case No: 1:23-CR-66-ZMF
                                                :
REBECCA LAVRENZ,                                :
                                                :
                       Defendant.               :


                    UNITED STATES’ OMNIBUS REPLY IN SUPPORT
                      OF SUPPLEMENTAL MOTIONS IN LIMINE

       The United States of America respectfully submits this reply in support of its motion in

limine to admit a video montage relating to the Congressional Record on January 6, 2021, without

an authenticating witness, ECF No. 45, and its motion in limine to admit a video montage relating

to the riot at the U.S. Capitol, ECF No. 44.1

    1. The Defendant’s Opposition to the Congressional Proceeding Montage Relies on
       Blatantly Incorrect Allegations.

        The Defendant’s opposition to the Congressional Proceeding Montage, ECF No. 54, rests

on blatantly incorrect allegations. First, the Defendant alleges that “[w]ithin the video there are

hundreds of other individuals. There are also many confrontations, assaults, violence, and

destruction of property that will be shown, none of which have anything to do with the

defendant.” Id. at 1. As defense counsel know from many other January 6 trials they have

defended, the Congressional Proceeding Montage contains no footage of confrontations, assaults,

violence, or property destruction. Instead, as defense counsel should know, the Congressional



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 As the United States noted in its supplemental motions in limine, ECF No. 44 n.1, ECF No. 45
n.1, both motions are substantially the same as motions that this Court granted in United States v.
Barron, No. 22-cr-89-ZMF.
                                                    1
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Proceeding Montage exclusively contains footage of the proceedings of the Joint Session of

Congress that took place in the House and Senate Chambers. Because the Defendant’s opposition

rests almost entirely upon inaccurate facts, the Court should reject the Defendant’s arguments

and grant the United States’ motion.

       Second, the Defendant argues that the Court should not admit the montage because there

are other ways that the United States can prove that official business was occurring in Congress

on January 6. Evidence, however, is not inadmissible merely because there is some alternative

way to prove a fact. See United States v. Old Chief, 519 U.S. 172, 186 (1997) (noting “the

familiar, standard rule that the prosecution is entitled to prove its case by evidence of its own

choice”); United States v. Douglas, 482 F.3d 591, 597 (D.D. Cir. 2007) (explaining that relevance

is not affected by the availability of other forms of proof of the element) (citing Old Chief, 519

U.S. at 179). Here, the Congressional Proceeding Montage is plainly relevant to proving elements

of the charged offenses, as the United States explained in its supplemental motion in limine, ECF

No. 45 at 5. Absent a risk of unfair prejudice that substantially outweighs the relevance—that is,

a risk based on actual, not erroneous facts—the Court should admit the evidence. See Fed. R.

Evid. 403. Even setting that aside, the Defendant’s motion takes for granted that there was an

official proceeding in Congress on January 6, see ECF No. 54 at 3, yet the Defendant has declined

to reach a stipulation regarding that fact. While it is entirely the Defendant’s right to put the

government to its burden, how the government meets that burden with admissible evidence is

not a matter for the Defendant to choose.

   2. The Defendant’s Opposition to the Capitol Riot Montage Provides No Basis to
      Exclude the Proposed Exhibit.

       The Defendant’s opposition to a different compilation showing the Capitol riot (“Capitol

Riot Montage”) completely ignores the D.C. Circuit’s recent decision in United States v. Alford,

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89 F.4th 943, 949–53 (D.C. Cir. 2024), which plainly supports the United States’ argument in

support of the Capitol Riot Montage, see ECF No. 44 at 7–8. As the Court of Appeals explained,

“entering the Capitol as part of a crowd rather than as a lone individual magnified the

disruptiveness of [the defendant’s] presence. Each additional person, no matter how modestly

behaved, increased the chaos within the building, the police’s difficulty in restoring order and the

likelihood of interference with the Congress’s work.” Id. at 953. Thus, a jury is “ not required to

view [the defendant’s] actions in isolation as though he were the only one at the Capitol that

day.” Id. The circumstances-dependent inquiry endorsed by the Court of Appeals in Alford makes

the montage exhibit plainly relevant and helpful to the jury’s understanding of the circumstances

under which the Defendant committed the charged offenses. Nothing in the Defendant’s opposition

even attempts to address Alford’s holding.

   3. The United States Rests on its Omnibus Motions in Limine

       Before this trial was transferred to this Court, the United States filed Omnibus Motions in

Limine, ECF No. 32. Those motions remain pending, and the United States rests on its filing.




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                                      CONCLUSION

       For these reasons, the United States requests that the Court grant its Omnibus Motions

in Limine, ECF No. 32, Supplemental Motion in Limine to Admit the Capitol Riot Montage, ECF

No. 44, and Supplemental Motion in Limine to Admit the Congressional Proceeding Montage,

ECF No. 45.




                                          Respectfully submitted:

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